Case 1:11-cv-00538-DKW-BMK Document 69 Filed 02/06/13 Page 1 of 5   PageID.765




 ANNA ELENTO-SNEED              3412
 MALIA E. KAKOS                 7410
 ALSTON HUNT FLOYD & ING
 1001 Bishop Street, Suite 1800
 Honolulu, Hawai`i 96813
 Telephone: (808) 524-1800
 Facsimile: (808) 524-4591
 E-mail: aes@ahfi.com
           mkakos@ahfi.com

 RICHARD S. COHEN (Admitted Pro Hac Vice)
 JACKSON LEWIS LLP
 2398 East Camelback Road, Suite 1060
 Phoenix, AZ 85016
 Telephone: (602) 714-7044
 Facsimile: (602) 714-7045
 Email:    cohenr@jacksonlewis.com

 NICKY JATANA              (Admitted Pro Hac Vice)
 BENJAMIN J. KIM           (Admitted Pro Hac Vice)
 JACKSON LEWIS LLP
 725 S. Figueroa Street, Suite 2500
 Los Angeles, CA 90017
 Telephone: (213) 689-0404
 Facsimile: (213) 689-0430
 E-mail: jatanan@jacksonlewis.com
           benjamin.kim@jacksonlewis.com


 Attorneys for Defendants
 WYNDHAM WORLDWIDE CORPORATION,
 WYNDHAM VACATION OWNERSHIP, INC.,
 WYNDHAM VACATION RESORTS, INC.,
 MICHAEL JONAH and TOM VIRAG
Case 1:11-cv-00538-DKW-BMK Document 69 Filed 02/06/13 Page 2 of 5        PageID.766




                  IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF HAWAI`I


 LIANE WILSON and JOANNA                     Case No. CV 11-00538 LEK BMK
 WHEELER, on behalf of themselves
             Plaintiffs,
                                             JOINT STIPULATION AND
       vs.                                   ORDER TO AMEND ORDER
                                             STAYING DISCOVERY AND ALL
 WYNDHAM WORLDWIDE                           OTHER COURT DEADLINES
 CORPORATION, WYNDHAM                        PENDING PRIVATE MEDIATION
 VACATION OWNERSHIP, INC.,
 WYNDHAM VACATION RESORTS,
 INC., MICHAEL JONAH, MARK
 POLLARD, TOM VIRAG, DOE I
 through X, and ROE BUSINESS
 ENTITIES I through X, inclusive,
             Defendants.




   JOINT STIPULATION AND ORDER TO AMEND ORDER STAYING
    DISCOVERY AND ALL OTHER COURT DEADLINES PENDING
                    PRIVATE MEDIATION

       Pursuant to Federal Rule of Civil Procedure 26 and LR 10.4, Plaintiffs Liane
 Wilson and Joanna Wheeler (collectively, “Plaintiffs”) and Defendants Wyndham
 Worldwide Corporation, Wyndham Vacation Ownership, Inc., Wyndham Vacation
 Resorts, Inc., Michael Jonah, Mark Pollard, Tom Virag, DOE I through X, and
 ROE Business entities I through X, acting through their respective counsel of
 record, hereby stipulate and agree, subject to the approval of the Court, that the
 Court’s Order Staying Discovery and All Other Court Deadlines Pending Private




                                         2
Case 1:11-cv-00538-DKW-BMK Document 69 Filed 02/06/13 Page 3 of 5             PageID.767




 Mediation (“Order”), dated November 20, 2012 [Docket No. 68], be amended as
 follows:
       (1)   Because the parties have scheduled the mediation with Keith Hunter,
             Dispute Prevention & Resolution, Inc., for February 26, 2013 –
             which is the earliest date the parties, their attorneys and the mediator
             are available – the parties stipulate that the stay of all discovery in this
             action and court deadlines shall be extended from February 21, 2013
             to March 19, 2013.
       (2)   If this matter is not settled and a stipulation to dismiss the action is not
             filed on or before March 19, 2013, the parties will jointly submit a
             proposed amended Rule 16 scheduling order to the Court for its
             consideration and ultimate entry.
 \\\
 \\\
 \\\
 \\\
 \\\
 \\\
 \\\
 \\\
 \\\
 \\\
 \\\
 \\\
 \\\
 \\\
 \\\


                                           3
Case 1:11-cv-00538-DKW-BMK Document 69 Filed 02/06/13 Page 4 of 5            PageID.768




           (3)   All other provisions of the Order shall remain in effect.


      Dated: January 31, 2013.


      Respectfully Submitted,

By: /s/ Nicky Jatana                           By: /s/ Carl M. Varady
  Nicky Jatana                                    Carl M. Varady
  Jackson Lewis LLP                               Pauahi Tower
  725 S. Figueroa Street, Suite 2500              1003 Bishop Street, Suite 1730
  Los Angeles, CA 90017                           Honolulu, HI 96813
  Telephone: (213) 689-0404                       Telephone: (808) 523-8447
  Facsimile: (213) 689-0430                       Facsimile: (808) 523-8448

Attorneys for Defendants
WYNDHAM WORLDWIDE
CORPORATION, WYNDHAM                              /s/ Felicia Medina
VACATION OWNERSHIP, INC.,                         Felicia Medina
WYNDHAM VACATION RESORTS,                         Sanford Heisler, LLP
INC., MICHAEL JONAH and                           555 Montgomery Street, Ste 1206
TOM VIRAG                                         San Francisco, CA 94111
\\\                                               Telephone: (415) 795-2020
                                                  Facsimile: (415) 795-2021
\\\
\\\                                            Attorneys for Plaintiffs
                                               LIANE WILSON AND
\\\                                            JOANNA WHEELER
\\\
\\\
\\\
\\\
\\\
\\\
\\\


                                              4
Case 1:11-cv-00538-DKW-BMK Document 69 Filed 02/06/13 Page 5 of 5             PageID.769




By: /s/ Wesley M. Fujimoto
  Wesley M. Fujimoto
  Ashford & Wriston
  1099 Alakea St., Suite 1400
  Honolulu, HI 96813
  wfujimoto@awlaw.com

Attorney for Defendant
MARK POLLARD


APPROVED AND SO ORDERED:

DATED: Honolulu, Hawaii, February 5, 2013.




                                              /S/ Barry M. Kurren
                                             Barry M. Kurren
                                             United States Magistrate Judge




____________________
JOINT STIPULATION AND ORDER TO AMEND ORDER STAYING
DISCOVERY AND ALL OTHER COURT DEADLINES PENDING PRIVATE
MEDIATION; Liane Wilson and Joanna Wheeler, on behalf of themselves v.
Wyndham Worldwide Corporation, et al.,
Case No. CV 11-00538 LEK BMK



                                      5
